 Case 2:24-cv-00060-Z        Document 10       Filed 04/05/24     Page 1 of 6     PageID 96



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                               AMARILLO DIVISION

RUSTY STRICKLAND,                               )
                                                )
ALAN AND AMY WEST FARMS,
                                                )
ALAN WEST,                                      )
AMY WEST,                                       )
                                                )
DOUBLE B FARMS, LLC, and                        )
BRYAN BAKER,                                    )
                                                )
                                                )
       Plaintiffs,                              )
                                                )
v.                                              ) Case No. 2:24-cv-00060-Z
                                                )
THE UNITED STATES DEPARTMENT OF                 )
AGRICULTURE,                                    )
THOMAS J. VILSACK, in his official capacity )
as Secretary of the United States Department of )
Agriculture,                                    )
                                                )
ZACH DUCHENEAUX, in his official capacity
                                                )
as Administrator of the Farm Service Agency,
                                                )
and
                                                )
THE UNITED STATES OF AMERICA,                   )
                                                )
       Defendants.                              )



      PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION OR, IN THE
                 ALTERNATIVE, RELIEF UNDER 5 U.S.C. § 705


       Plaintiffs Rusty Strickland, Alan and Amy West Farms, Alan West, Amy West, Double B

Farms, LLC, and Bryan Baker hereby move under Federal Rule of Civil Procedure 65 to

preliminarily enjoin the United States Department of Agriculture (USDA) from using race, sex, or

progressive factoring when administering the following programs: (1) Notice of Funds

Availability; Emergency Relief Program (ERP), 87 Fed. Reg. 30164 (May 18, 2022); (2) Pandemic
 Case 2:24-cv-00060-Z         Document 10       Filed 04/05/24       Page 2 of 6     PageID 97



Assistance Programs and Agricultural Disaster Assistance Programs, Subpart S—Emergency

Relief Program Phase 2, 88 Fed. Reg. 1862 (Jan. 11, 2023) (codified at 7 C.F.R. § 760.1901); (3)

Subpart A—Coronavirus Food Assistance Program 2, id. at 1877 (codified at 7 C.F.R. § 9.201);

(4) Subpart D—Pandemic Assistance Revenue Program, id. at 1879 (codified at 7 C.F.R. § 9.302);

(5) Notice of Funds Availability; Emergency Livestock Relief Program (ELRP), 87 Fed. Reg.

19465 (Apr. 4, 2022); (6) Notice of Funds Availability; 2021 Emergency Livestock Relief Program

(ELRP) Phase 2, 88 Fed. Reg. 66366 (Sept. 27, 2023); (7) Notice of Funds Availability; Emergency

Relief Program 2022, 88 Fed. Reg. 74404 (Oct. 31, 2023); (8) Notice of Funds Availability;

Emergency Livestock Relief Program (ELRP) 2022, 88 Fed. Reg. 66361 (Sept. 27, 2023).

Alternatively, they move under 5 U.S.C. § 705 to stay these programs. This is Plaintiffs’ First

Application for Extraordinary Relief.

       As set forth more fully in the brief filed in support of this motion, enjoining USDA from

using race, sex, or progressive factoring when administering the programs is warranted because

Plaintiffs are likely to succeed on the merits of their claims that: (1) the programs, as currently

administered, are unconstitutional; (2) USDA lacks statutory authority to run the programs in their

current form; and (3) USDA failed to adequately explain changes in calculating payments when

implementing progressive factoring. Plaintiffs are also able to demonstrate immediate and

irreparable harm both to themselves and to the public.



Dated: April 5, 2024.                                Respectfully submitted,


                                                     /s/ Braden H. Boucek
                                                     BRADEN H. BOUCEK
                                                       Georgia Bar No. 396831
                                                       Tennessee Bar No. 021399
                                                     BENJAMIN I. B. ISGUR

                                                2
 Case 2:24-cv-00060-Z       Document 10       Filed 04/05/24       Page 3 of 6    PageID 98



                                                     Virginia Bar No. 98812
                                                   Southeastern Legal Foundation
                                                   560 W. Crossville Road, Suite 104
                                                   Roswell, GA 30075
                                                   (770) 977-2131
                                                   bboucek@southeasternlegal.org
                                                   bisgur@southeasternlegal.org

                                                   WILLIAM E. TRACHMAN
                                                     Colorado Bar No. 45684
                                                   Mountain States Legal Foundation
                                                   2596 South Lewis Way
                                                   Lakewood, Colorado 80227
                                                   (303) 292-2021
                                                   wtrachman@mslegal.org

                                                   ED MCCONNELL
                                                     Texas Bar No. 13442500
                                                   Tormey & McConnell, LLC
                                                   310 SW 6th Ave.
                                                   Amarillo, TX 79101
                                                   Tel. (806) 355-2700; Fax. (806) 355-4771
                                                   ed@tmcattorneys.com

                                                   Attorneys for Plaintiffs

                            CERTIFICATE OF CONFERENCE

       Under Local Rule 7.1(b)(3), I hereby certify that on April 4, 2024, I emailed Alexander

Sverdlov and Faith Lowry, the Department of Justice attorneys who will represent Defendants and

asked if Defendants opposed this motion. They indicated that Defendants oppose this motion.

                                            Respectfully submitted,


                                            /s/ B. H. Boucek
                                            BRADEN H. BOUCEK




                                              3
 Case 2:24-cv-00060-Z          Document 10        Filed 04/05/24       Page 4 of 6      PageID 99



                              CERTIFICATE OF COMPLIANCE

       This brief conforms to the requirements of Local Rule 7.2. It was prepared in 12-point

Times New Roman Font. It is double-spaced and has margins that are at least one inch on all four

sides. No text other than page numbers are in the margins.

                                               Respectfully submitted,


                                               /s/ Braden H. Boucek
                                               BRADEN H. BOUCEK

                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 5, 2024, a copy of the foregoing was filed electronically.

Notice of this filing will be sent by operation of the Court’s electronic filing system to all parties

indicated on the electronic filing receipt. I further certify that I will email Alexander Sverdlov and

Faith Lowry, the attorneys assigned to represent Defendants, at their doj.gov email addresses.

                                                Respectfully submitted,


                                                /s/ B. H. Boucek
                                                BRADEN H. BOUCEK




                                                  4
Case 2:24-cv-00060-Z          Document 10         Filed 04/05/24       Page 5 of 6       PageID 100



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                 AMARILLO DIVISION

RUSTY STRICKLAND,                              )
                                               )
ALAN AND AMY WEST FARMS,
                                               )
ALAN WEST,                                     )
AMY WEST,                                      )
                                               )
DOUBLE B FARMS, LLC, and                       )
BRYAN BAKER,                                   )
                                               )
                                               )
       Plaintiffs,                             )
                                               )
v.                                             ) Case No. 2:24-cv-00060-Z
                                               )
THE UNITED STATES DEPARTMENT OF                )
AGRICULTURE,                                   )
THOMAS J. VILSACK, in his official capacity as )
Secretary of the United States Department of   )
Agriculture,                                   )
                                               )
ZACH DUCHENEAUX, in his official capacity
                                               )
as Administrator of the Farm Service Agency,
                                               )
and
                                               )
THE UNITED STATES OF AMERICA,                  )
                                               )
       Defendants.                             )



       [PROPOSED] ORDER ON PLAINTIFFS’ MOTION FOR A PRELIMINARY
       INJUNCTION OR, IN THE ALTERNATIVE, RELIEF UNDER 5 U.S.C. § 705


        The Court, having considered Plaintiff’s Motion for a Preliminary Injunction or, in the

Alternative, Relief under 5 U.S.C. § 705 and all briefing submitted in support of and in opposition

to the motion, as well as the applicable law, concludes that Plaintiffs have shown a substantial

likelihood of success on the merits, a substantial threat of irreparable harm if a stay is not granted,

that the threatened injury outweighs any harm that will result if the stay is granted, and that granting
Case 2:24-cv-00060-Z         Document 10       Filed 04/05/24      Page 6 of 6     PageID 101



the stay is in the public interest. It is, therefore, ORDERED that Plaintiffs’ Motion [ECF No.___]

is hereby GRANTED. It is FURTHER ORDERED that, while this litigation is pending or until

this Court amends this order, the United States Department of Agriculture (USDA) is enjoined

from using race, sex, or progressive factoring when administering disaster and pandemic relief

programs, including but not limited to the following (1) Notice of Funds Availability; Emergency

Relief Program (ERP), 87 Fed. Reg. 30164 (May 18, 2022); (2) Pandemic Assistance Programs

and Agricultural Disaster Assistance Programs, Subpart S—Emergency Relief Program Phase 2,

88 Fed. Reg. 1862 (Jan. 11, 2023) (codified at 7 C.F.R. § 760.1901); (3) Subpart A—Coronavirus

Food Assistance Program 2, id. at 1877 (codified at 7 C.F.R. § 9.201); (4) Subpart D—Pandemic

Assistance Revenue Program, id. at 1879 (codified at 7 C.F.R. § 9.302); (5) Notice of Funds

Availability; Emergency Livestock Relief Program (ELRP), 87 Fed. Reg. 19465 (Apr. 4, 2022);

(6) Notice of Funds Availability; 2021 Emergency Livestock Relief Program (ELRP) Phase 2, 88

Fed. Reg. 66366 (Sept. 27, 2023); (7) Notice of Funds Availability; Emergency Relief Program

2022, 88 Fed. Reg. 74404 (Oct. 31, 2023); (8) Notice of Funds Availability; Emergency Livestock

Relief Program (ELRP) 2022, 88 Fed. Reg. 66361 (Sept. 27, 2023).

       The Court reaches this conclusion because: (1) the use of race and sex classifications to

calculate payments under the programs likely violates equal protection, as secured by the Due

Process Clause of the Fifth Amendment; (2) USDA likely lacked statutory authorization to

consider race and sex when calculating payments; and (3) USDA likely acted arbitrarily and

capriciously when adopting progressive factoring. No bond or other security is required.

       This _________ day of _________________, 2024

                                     ________________________________________________
                                     THE HONORABLE MATTHEW J. KACSMARYK
                                     UNITED STATES DISTRICT JUDGE



                                                2
